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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                8:15CR343

      vs.
                                                                 ORDER
JERELL HAYNIE,

                      Defendant.


Before the court is the Findings and Recommendation and Order (“F&R”) of United

States Magistrate Judge F.A. Gossett, III, Filing No. 365. No objection has been filed to

the F&R.     Pursuant to NECrimR 59.2 and 28 U.S.C. § 636(b)(1), the court has

conducted a de novo review of the record and adopts the F&R in its entirety.

      THEREFORE, IT IS HEREBY ORDERED that:

      1. The F&R, Filing No. 365, is adopted in its entirety; and

      2.    The defendant’s motion to suppress evidence obtain from Email/Mail, Filing

No. 242, is denied.




      Dated this 27th day of March, 2017.


                                                 BY THE COURT:

                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge
